                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION


UNITED STATES OF AMERICA                    )       DOCKET NO. 1:05CR234
                                            )
              vs.                           )       ORDER TO DESTROY EVIDENCE
                                            )
PATRICIA LEE BURLESON                       )
                                            )



       THIS MATTER is before the Court upon the Government's motion for destruction of

evidence.

       For the reasons stated in the Government's motion and for good cause shown, the Court

finds that the firearm identified in the motion, which is now in the possession of the McDowell

County Sheriff’s Office, should be destroyed in accordance with the usual procedure for the

destruction of such evidence.

       IT IS, THEREFORE, ORDERED that the Government's motion to destroy evidence is

hereby GRANTED, and the firearm, a Bryco Arms Jennings 9mm Handgun, SN 1548485, is

hereby ordered destroyed in accordance with the usual procedure for the destruction of such

evidence.

                                                Signed: April 2, 2007




    Case 1:05-cr-00234-MR-WCM            Document 173        Filed 04/02/07     Page 1 of 1
